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                                                    [Dkt. Nos. 64, 68]

                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
                             Camden Vicinage

______________________________
                              :
UNITED STATES OF AMERICA,     :
                              :
          v.                  : Crim. No. 17-077 (RMB)
                              :
TONY WILSON                   : OPINION
______________________________:


     This matter comes before the Court upon Defendant Tony

Wilson’s Motion to Reduce Sentence pursuant to the First Step

Act, 18 U.S.C. § 3582(c)(1)(A)(i) (compassionate release).

Defendant Wilson is currently serving his sentence at Allenwood

Low Prison in Allenwood, Pennsylvania, with a projected release

date of January 15, 2024, and a home detention eligibility date

of July 15, 2023.    The Court having considered the parties’

submissions, and for the reasons discussed below, denies the

Motion.

     On March 7, 2017, Mr. Wilson pled guilty to a two count

information charging Defendant with conspiracy to distribute

crack cocaine, in violation of 21 U.S.C. §§ 841(a)(1)(b)(1)(c),

and 846, and possession of a firearm in furtherance of a drug

trafficking crime, in violation of 18 U.S.C. § 924(c).           The

Court sentenced Defendant to 96 months of imprisonment.



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     In support of his Motion, Defendant submits that he suffers

from hypertension and he is overweight.        A combination of

hypertension and an overweight disorder increases his risk of

serious illness should he become infected with COVID-19, Wilson

contends.    Moreover, Wilson asks the Court to consider the fact

that since the filing of his initial motion, there has been a

“severe outbreak” at FCI Allenwood Low, and 136 inmates and

staff members have tested positive.       [Dkt. No. 73].

     The Government responds that Defendant does not satisfy the

“extraordinary and compelling” standard for release.          Although

Defendant suffers from being slightly overweight and having

hypertension, these are conditions the CDC recognizes might be

an increased risk, and the BOP is well equipped to treat

Defendant S medical needs.      [Dkt. No. 77].     Moreover, it also

has introduced evidence of the measures that the Bureau of

Prisons has taken to prevent the spread of the coronavirus.            It

is set forth at length in the Government’s Response. See Govt.

Opp., Dkt. No. 72, at 3-4)

DISCUSSION
     Although a district court generally has limited authority

to modify a federally-imposed sentence once it commences, Dillon

v. United States, 560 U.S. 817, 825 (2010), the First Step Act

(“FSA”), 18 U.S.C. § 3582(c)(1)(A)(i), permits district courts

to grant compassionate release where there exists “extraordinary


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and compelling reasons” to reduce a sentence.         The statute

provides, in relevant part, that:

     (A) the court, upon motion of the Director of the
     Bureau of Prisons, or upon motion of the defendant
     after the defendant has fully exhausted all
     administrative rights to appeal a failure of the
     Bureau of Prisons to bring a motion on the defendant’s
     behalf or the lapse of 30 days from the receipt of
     such a request by the warden of the defendant’s
     facility, whichever is earlier, may reduce the term of
     imprisonment (and may impose a term of probation or
     supervised release with or without conditions that
     does not exceed the unserved portion of the original
     term of imprisonment), after considering the factors
     set forth in section 3553(a) to the extent that they
     are applicable, if it finds that--
     (i) extraordinary and compelling reasons warrant such
     a reduction. . .
     18 U.S.C. § 3582(c) (emphasis added). As such, under
     the FSA, a defendant seeking a reduction in his term
     of imprisonment bears the burden of establishing both
     that he has satisfied (1) the procedural prerequisites
     for judicial review, and (2) that compelling and
     extraordinary reasons exist to justify compassionate
     release.
     This Court may only grant a motion for reduction of

sentence under the FSA if it was filed “after the defendant has

fully exhausted all administrative rights to appeal a failure of

the Bureau of Prisons to bring a motion on the defendant’s

behalf” or after 30 days have passed “from the receipt of such a

request by the warden of the defendant’s facility, whichever is

earlier.” 18 U.S.C. § 3582(c)(1)(A); see also United States v.

Raia, No. 20-1033, 2020 WL 1647922, at *2 (3d Cir. Apr. 2,

2020), as revised (Apr. 8, 2020).        This is a statutory

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requirement that this Court may not waive.         See, e.g., Raia,

2020 WL 1647922 at *2; Massieu v. Reno, 91 F.3d 416, 419 (3d

Cir. 1996); Ross v. Blake, 136 S. Ct. 1850 (2016).

     There is no disagreement that Defendant has exhausted his

administrative remedies.     United States v. Raia, Civ. No. 20-

1033, 2020 WL 1647922, at *2 (3d Cir. Apr. 2, 2020).          The Court,

thus, turns to the merits.

     Under 18 U.S.C. § 3582(c)(1)(A), this Court may, in certain

circumstances, once the exhaustion requirement has been

satisfied as it has here, grant a defendant’s motion to reduce

his term of imprisonment “after considering the factors set

forth in [18 U.S.C. § 3553(a)],” if the Court finds that (i)

“extraordinary and compelling reasons warrant such a reduction,”

and (ii) “such a reduction is consistent with applicable policy

statements issued by the Sentencing Commission.” 18 U.S.C. §

3582(c)(1)(A)(i).    The Defendant bears the burden to establish

that he is eligible for a sentence reduction.         United States v.

Jones, 836 F.3d 896, 899 (8th Cir. 2016); United States v.

Green, 764 F.3d 1352, 1356 (11th Cir. 2014).

     The Sentencing Commission has issued a policy statement

addressing reduction of sentences under § 3582(c)(1)(A). As

relevant here, the policy statement provides that a court may

reduce the term of imprisonment after considering the § 3553(a)

factors if the Court finds that (i) “extraordinary and

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compelling reasons warrant the reduction;” (ii) “the defendant

is not a danger to the safety of any other person or to the

community, as provided in 18 U.S.C. § 3142(g);” and (iii) “the

reduction is consistent with this policy statement.” U.S.S.G. §

1B1.13.1

        The policy statement includes an application note that

specifies the types of medical conditions that qualify as

“extraordinary and compelling reasons.” First, that standard is

met if the defendant is “suffering from a terminal illness,”

such as “metastatic solid-tumor cancer, amyotrophic lateral

sclerosis (ALS), end-stage organ disease, [or] advanced

dementia.” U.S.S.G. § 1B1.13, cmt. n.1(A)(i).            Second, the

standard is met if the defendant is:

        (I)   suffering from a serious physical or medical condition,

       (II) suffering from a serious functional or cognitive
            impairment, or



1 The policy statement refers only to motions filed by the BOP
Director. That is because the policy statement was last amended
on November 1, 2018, and until the enactment of the First Step
Act on December 21, 2018, defendants were not entitled to file
motions under § 3582(c). See First Step Act of 2018, Pub. L.
No. 115-391, § 603(b), 132 Stat. 5194, 5239; cf.18 U.S.C. §
3582(c) (2012). In light of the statutory command that any
sentence reduction be “consistent with applicable policy
statements issued by the Sentencing Commission,” 18 U.S.C. §
3582(c)(1)(A)(ii), and the lack of any plausible reason to treat
motions filed by defendants differently from motions filed by
BOP, the policy statement applies to motions filed by defendants
as well.
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    (III) experiencing deteriorating physical or mental
          health because of the aging process,

          that substantially diminishes the ability of the
          defendant to provide self-care within the
          environment of a correctional facility and from
          which he or she is not expected to recover.

Id. § 1B1.13, cmt. n.1(A)(ii).           The application note also sets

out other conditions and characteristics that qualify as

“extraordinary and compelling reasons” related to the

defendant’s age and family circumstances. Id. § 1B1.13, cmt.

n.1(B)-(C).   The note recognizes the possibility that BOP could

identify other grounds that amount to “extraordinary and

compelling reasons.” Id. § 1B1.13, cmt. n.1(D).

     Here, Defendant’s medical conditions are not among the

categories of conditions recognized by the CDC as entailing a

greater risk of serious illness.         Although these conditions fall

within the second set of identified health conditions for which

persons might be at an increased risk, there is no evidence put

before this Court to demonstrate that his medical conditions are

not being treated.    Evidence demonstrates that Defendant is

being treated for his hypertension.

     Moreover, the record before this Court demonstrates that

the BOP is undertaking efforts to contain the COVID-19 outbreak

at FCI Allenwood Low.     While the Court agrees with Defendant

that the numbers are alarming, the record supports the

conclusion that the recent surge of positive cases has been
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addressed, and BOP efforts to contain the spread of the virus

are working.   On November 13, 2020, the Government advised there

were 0 positive cases.     See Dkt. No. 72, at 9.      By December 23,

2020, counsel for Defendant advised there were 136 inmates and 9

staff members who have tested positive.        See Dkt. No. 73. Yet,

by January 4, 2021, the date of this Opinion, there are 57

inmates and 9 staff who are positive.        Thus, while the numbers

are concerning, BOP’s efforts to control the spread seem to be

working.    The Court also finds that Defendant has failed to

demonstrate that he merits release under the § 3553(a) factors.

Under the applicable policy statement, this Court must consider

the § 3553(a) factors, as “applicable,” as part of its analysis.

See § 3582(c)(1)(A); United States v. Chambliss, 948 F.3d 691,

694 (5th Cir. 2020).

     A sentence reduction here would be inconsistent with the §

3553(a) factors.    First, a reduction would fail to “reflect the

seriousness of the offense,” “promote respect for the law,” and

“provide just punishment for the offense.” 18 U.S.C. § 3553(a).

The crimes committed by Defendant were particularly heinous - -

the distribution of crack cocaine on a regular basis to addicts

in and around Camden, inflicting farther destruction on a city

plagued by drug activity.      To make matters more egregious, he

possessed a handgun in furtherance of his trafficking

activities, thereby increasing the risk of violence.

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     The “history and characteristics of the defendant” and the

need to protect the public also counsel against any sentencing

reduction.   As set forth in the Government’s opposition, the

Defendant has little regard for the rule of law.          The facts

surrounding his criminal conduct are troubling, and the fact

that he violated conditions of his pre-trial release give little

confidence that he will abide by conditions of release.           For

similar reasons, the need for deterrence and the need to punish

the Defendant also weigh against reducing Defendant’s sentence.

     The Court has reviewed the record, and given the

substantial time remaining on the Defendant’s sentence, cannot

find that the §3553(a) factors warrant his release.          Rather,

they counsel in favor of continued incarceration.

     The Motion is therefore DENIED.

                                  s/Renée Marie Bumb_________
                                  RENÉE MARIE BUMB
                                  United States District Judge

Dated: January 4, 2021




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